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uNrTED sTATEs orsTchT couRT

FOR THE EASTERN`D|STR|CT OF THE STATE OF LOUlSlANA

Zepporiah Edmonds ClVlL ACT|ON No. 16 cv 00298
vERsus JuDGE: r. Lemerre
City of New Orleans, MAGlSTRATE: D. Knowles
Mark D. Jernigan and

Linda Cop_eland

AFF|_DAVIT OF P§TlT|ONER’S COUNSEL DOM|N|C N. VARRECCH|O

§§

ll Dominic N. Varrecchio, Counsel for Petitioner herein, file the following Affidavit in
support of the Petitioner ZEPPOR|AH EDMONDS Reply Brief in response to the
Defendants’ Objections and Argument raised in theirrSeptember 12, 2017 Nlemorandum
in Opposition to Petitioner's Motion for Reconsideration. Specifical|y, Petitioner’s Counsel
offers his attestations and attached documentation of his recent medical history which
includes many months of serious disability and illness prior to the and through the time
the opposition to the defendants’ N|otions to Dismiss and Nlotions for Summary
Judgment (hereinafter referred to as “MSJ”) were due, and the defendants1 claims that
failure to present the evidence sought entered here in support of Reconsideration should
be disallowed by the `Qourt now, as no excusable reasons existed for Petitioner's
counse|’s failure to i:c|ude such exhibits with his earlier filed opposition to the

defendants’ NlSJ. Petitioner's counsel in good faith believes such excusable reasoan did

in fact exist _ solely due to his serious illness - and presents those facts and

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Nose “Ba||oon-P|asty”`§urgery, which after approximately ten weeks of treatment and
observation by Dr. Ceco|a was scheduled to be performed on June 23, 2017.

On June 19, 2017, approximately 9:00 a.m., while attempting to walk three blocks
from my parking spot to an appearance in J_efferson Parish’s Second Parish Court in
Gretna, | actually collapsed due to being unable to breath through either my nose or
mouth while walking and attempting to get to the Courthouse. This was the very first
' time that l was totally unable to breath while standing up vertica||y, A |awyer, Peter
Brigandi, walking on the same street stopped and assisted me, and called the ambulance
to provide EMT assistance | convinced the ElVlT’s on the scene that | had regained my
composure and breathing, and that l instead wanted to see my doctor, Dr. Ceco|a, for my
scheduled 11:00a.m. appointment that same day, because l was now convinced that l
could not have his pi:posed Nasal Surgery which scheduled to preclude all nose
breathing for at least seven days because l could not breath through my mouth, and l
wanted to confront Dr. Cecola as to how and why these throat breathing issues were
worsening despite his care. The EN|T’s relentedl | went immediately to Dr. Cecola’s
office, and l cancelled June 23 surgery, and demanded that he properly examine my
throat and explain my condition He examined my throat finally, after four separate visits
to his oche over ten weeks, and announced that “you have a growth in your neck and
throat, you need to go immediately to the ER and have a CT Scan of your neck and
chest.” l drove myself from New Orleans to the Saint Ellzabeth’s Hospita| in Gonzales,
Louisiana because my wife and famiiy live there and my medical health plan includes
that network, and beca`t`fse l expected to desire to be near them for assistance is i were
to be hospitalized Upon hospital admittance and CT Scan it was discovered for the very

first time that l had Thyroid/Throat Cancer, and not merely sinus problems That same

 

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night l was transferred by ambulance from St. E|izabeth’s Hospital in Gonzales, LA to
Our Lady of the Lake Hospital in Baton Rouge due to the gravity of my illness and the

proximity there to the next door Cancer Center and the doctors involved with that regime.

l was then emergency hospitalized at Our Lady of The Lake Hospital (“OLOL”) in Baton
Rouge for 15 days beginning June 20. On June 26, 20171 l underwent a deep biopsy
surgery and had a tracheotomy installed in my throat to allow better breathing and
oxygen intake At present almost three months later1 l am still breathing via that
tracheotomy, with a procedure scheduled for September 20, 2017 to replace it. l am
expected to breath through a tracheotomy until the compietion of my chemotherapy

infusions on October 19, 20_17, when it will be removed at some point thereafter

l began chemotherapy infusions while in-patient at OLOl_ on July 5, 2017 and will
continue chemotherapy every three weeks until October 19, 2017. Again, l am under
strict orders to avoid exposure to groups and people until the chemotherapy regime is
complete as the treatments dramatically lower my White B|ood Cell count and resistance
to others' sicknesses and problems l am even avoiding Fami|y gatherings until this
treatment is finished Still, l have caught a horrible cold and cough that has persisted for
the past ten days throl’i§h the present lVly diagnosis Thank Heavens, is non-i-lodgkins
Lymphoma, which my doctors expect me to survive and cure through Chemotherapy and
possible Radiation treatments if necessary. A PET Test, a full body scan with radiation
contrast some weeks ago revealed that my cancer mass had dramatically shrank, and

that l am scheduled to beat this cancer and to iive. l am extremely grateful and

understand how fortunate that | am to have this diagnosis

 

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Nonethe|ess the cumulative effects of this chemotherapy have lowered my
energy level to almost nothing. The fatigue, constant rib cage and bone pain from low
White Blood Cell cou%ts, and lack of focus were not present after the first two
chemotherapy sessions and arose only after the third chemotherapy session on August
17, 2017. On August 18, 2017, l was run off of the-road in a grocery store parking lot
and suffered an one-vehicle accident (without serious injury) that | am convinced that
could have avoided if not chronically fatigued by the chemotherapy cumulative effects
that are explained to me by my physicians as totally normal and expected On August
22, two weeks prior to the Reconsideration lVlemorandum being due, and in the middle of
excerpting .the 1600 page CS Appeal Record for evidence in completing the
memorandum in support due September 6, 2017, l became concerned with my ability to
complete the tasks involved in this case and reached out to this Court’s staff exploring
the possibility of an extension At the time l was experiencing fatigue and focus
challenges constant rib cage pain, and other issues more serious than that which l
feared may require physician attention and could result in the doctor’s limiting my
involvement here The Court Staff informed me in no uncertain terms that l would not be
given an extension, that l-would not be able to exceed the normal 25 page limit on the
filed memorandum, and that | should have found another attorney to do these tasks if my
illness would not allow me to complete them. Resolved to these boundaries and not
wanting to jeopardize my client’s case any more than my illness had already, and not
wanting to further test this Court’s patience with my problems or limitations l resolved
that my problems were not life threatening or cancer worsening and pressed on and filed

the Reconsideration nj__§morandum near midnight on September 4, 2017 - nearly 24

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hours ahead of schedule with those exhibits demanded by the Court and now sought

blocked by defendants counsel here
REASONS FOR NOT R§TA|N|NG ALTERNAT|VE COUNSEL:

There are two major reasons why additional counsel are not assisting current
Petitioner's Counsel here First, during my hospitalization, unsure of my ability to return
to full-time law practice, | contacted several attorney’s versed in Emp|oyment Law
seeking to enroll them as counsel or co-counse| to assist the Petitioner here None of
these attorney’s versed":i"in Emp|oyment Law would involve themselves on a Contingency
Fee Basis in this already-dismissed Federa| Case involving the review and excerpting of
a 1600 page Civi| Service Hearing transcript and given where the Petitioner, out of work
at this point for 80 weeks and without the ability to forward a mid-to high four figure
Retainer Fee Deposit. Simp|y put, the involvement of a competent Emp|oyment Law
attorney to get involved in this already-dismissed matter was financially beyond the
means of the Petitioner, and myself - Petitioner’s Counsel - who by June, 2017 had
earned almost no earnings in the entire year of 2017 due to illness and absence was in
no position to pay such a retainer to another attorney by myself. l have dozens if not
hundreds of friends tat are attorneys in the New Orleans area, and many seek to help me
through my illness andpwave in the context of my personal injury practice but none of
them are in the position to competently take over an Emp|oyment Law case, and those
that are in this discipline are almost all obliged to their firms to involve themselves only
with a very expensive retainer deposit paid up front, which was impossible for this

Petitioner or her counsel to pay under these circumstances

 

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Determined to assist my client out of this Hell that l had created for her by my illness
and limitations creating the Court’s June 19, 2017 dismissal of her case l have almost
daily pushed on despite doctor’s orders to do no strenuous or taxing tasks or work, and
instead got the Rece:gsideration memorandum completed and filed on time after
reviewing and excerpting the entire 1600 page CS Record with assistance from the
Petitioner prior to her reinstatement to her position ordered by the Civil Service

Commission last week when she returned to work on September 11, 2017.

The second reason is that after my first two chemotherapy treatments l suffered
no fatigue or concerns that as | completed my first two chemotherapy sessions through
mid-August, 2017, l was fully confident of maintaining an energy level necessary to
decently if not comfortable completing all tasks involved, given the far-away Sept. 6
deadline and l had no idea that as we approached the September 6, 2017 deadline for
the Reconsideration memorandum and exhibit submission, or the Reply Brief deadlines
of this week, that l wdpld be under a chronic fatigue challenge and facing any of the
circumstances that -| face at present l had never had cancer before never had
chemotherapy before and had no idea that the spry, energetic attorney of August 10
would be the worn out, groggy, fatigued old man of August 22. So, the expectation that l
could reasonably complete the tasks without much dichulty - despite doctor’s orders to
avoid stress and strenuous went out of the window knowing that if l did not assist my
client in this matterl no one else wouldl and she would surely lose her Reconsideration
Hearing, and, the defendants having avoided release of her Civil Service decision until
after her Reconsideration memorandum was due (despite the Civil Service
Commissioners signing the decision in mid-August1 2017 (see Reply Brief Exh. 1-b),

would have avoided being exposed for the ridiculous wrongful, retaliatory Termination of
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her employment - a termination rejected and eviscerated by the Hearing Examiner’s
Report (Rep|y Brief Exh. 1-c) and the Civil Service Commission’s September 5, 2017
decision ordering Petitioner’s reinstatement to employment with the defendant (Rep|y
Brief Exh. 1-b). This is THE only matter that l am working on, giving care to this matter
on an almost daily basis Other than one Attorney’s Fee intervention matter - involving a
desperately needed payday for myself and my family - l am doing nothing other than a
very limited law practice involvement of filing lawsuits to meet liberative prescription
deadlines or filing continuances of MSJ’s filed by defense counse|. | last Week settled a

small case earning my first attorney’s fee earnings in almost five months

§)SCUSABLE REASONS FOR TH|S EV|DENCE NOT HAV|NG BEEN SUBM|TTED TO
TH|S COURT AS PART OF PET|TlONER’S OR|G|NAL MSJ OPPQ_§|T|ON:

insofar as whether or not there existed excusable reasons as contemplated by the
Federal Rules and jurisprudence regarding the admission of evidence not previously
presented to this Court, it is again worth noting that in the eight weeks prior to my 6/19)'17
collapse my throat and nose would not allow me to breath while in a horizontal position,
and l averaged about one hour per night sleep for eight weeks prior to June 19 in a
sitting position while many nights receiving zero sleep. The CT scan of my throat and
neck on 6/19/17 at the ER revealed that l was breathing through a 1/8 inch throat

opening for at least the past 4-5 weeks prior to my collapse that morning.

This period in tir`rie directly overlaps the time that l was responsible for filing the
MSJ opposition memorandum and providing the required attached evidence and again,
this memorandum was fried in haste as due to the 28 years of previous experience that l
have as a Louisiana attorney practicing in the EDLA where l have been consistently

informed and held to the sacrosanct deadlines of each and every Federal Court

 

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Scheduling Order - sometimes at hard-earned experience l had held the belief (proven
held wrongly by me) that this or any other USDC EDLA Court would not allow a late-filed
NlSJ by any party to go fon~ard. | was simply wrong. The combination of my
misdiagnosed illness chronic fatigue wrongful assumptions as to the Court allowing the
late-filed motion to go ft§rward and my ill-advised filing of three motions during this period
on the plaintiff’s behalf - all led to the toxic result of this Court allowing the lVlSJ to go
forward, my Hling a weak and ineffective opposition, and my client’s case to be

dismissed

lt is worth noting that my health was so bad in the second half of the year 2016 that
the LSBA-CLE allowed me to finish my required CLE hours well beyond traditional
deadlines without the mandated financial penalty, and also allowed an exception for me to
complete my 2016 CLE hours entirely online in the early months of 2017. This may be
confirmed by contacting lVls. Kitty Hymel with the LSBA-CLE. |Vly illness and forced
absence has severely limited my income and_l have had to secure loans to keep my law
office open, to pay for-spralpractice insurance and fixed law practice costs as well as for
insurance and children’s tuitions and such. l owe a great deal of gratitude and
understanding to a great many people who have assisted me here l have applied for
Hardship delays in payment of my LSBA Annual Dues and my LADB Annual Assessment
until l have renewed cash flow, as l am simply unable to pay those expenses at this time a
waiver of which were granted by the LSBA waiving my Dues for 2017. l await the LADB’s
decision at present

l have been living with my family in the Prarieviile/Dutchtown, Louisiana area,
forgoing my usual majority-time residence in New Orleans due to my full-time law practice

here since my release from the hospital on July 6, 2017 to assist me with travel and

list

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support, as well as to begl near all of my cancer physicians that are in Baton Rouge at OLOL
and the attached Cancer Center.

Attached is my most recent Work ReleaselReturn report written by my treating
physician dated September 11, 2017. l am ordered by my doctors to avoid Court
appearances and people until at least December 7l 2017 - pushed back from an original
Work Retum date of mid-October, 2017 when the current Chemotherapy treatments are
scheduled to end and l will begin to rebuild my body’s resistance to other peoples
sicknesses and illnesses Attached also are earlier work release documents showing the
extended time of my treatments my earlier misdiagnosis of illness and treatment plans
over recent months l attach all of these medical documents in dated order, for Court and '
staff reference H

l pray this Court consider this evidence attached and presented in thois lVlotion for
Reconsideration, within those deadlines set by this Court and met despite the medical
limitations facing Petitioner's Counsel and despite the financial limitations that prevented

retaining other competent Emp|oyment Law counsel

The preceding is true and correct to the best of my recollection and belief Sworn

and attested to by me DOlVllNlC N. VARRECCH|O, this 18th day of September, 2017.

 

Signed

 

DOM|N|C`LN.VARRECCHIO - AFFIANT

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Sworn and attested to before me ,%/5/1’7%'~ 6 MH€HVO , Notary
Public No. /9'-5_(7'$/ this 181h day of September, 20171 in Geismar (Ascension
Parish), Louisiana.

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\ - NOTARY"\_

MlCHAEL L. l»lril'-iCHAND
LA Notary Public rlt45524
lviy Commission is for l_ife

Respectfully submittedl

DM~SWN. VMM¢¢K\'@

Dominic N. Varrecchio (# 19456)

300 Lafayette Street, Suite 103

New Orleans LA 70130

Te|ephone: (504) 524-8600

Email: knic55@cox.net

Attorney for Plaintiff Zepporiah Edmonds

 

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CERT|F|CATE OF SERV|CE

l certify that a copy of the above and foregoing has been served upon counsel
for all parties by the USDC Court Electronic Filing System, this 18th of September, 2017.

Dam'/M¢N. VMM¢¢£L¢

 

DOlV|lNlC N. VARRECCHIO

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OU_R LA_DY OF THE `_LAKE Msdi¢=al Or;;;l;ts);;l:n<:
PHYSICIAN GROUP aaron T::;L;izrso:g:g£

 

September 11,. 2017

Patient: Dominic Var_i'ecchio
Da'te o_f Birth:11f25[1960

T_c_) Who_rr_l it May'-Concern:

llilr. Dominic Va'r_rec_chio is a 56-year-o|_d attorney who presented tc Our Lady of the
Lake Region_al lvle_dica| _Center emergency room with neck swelling and dyspnea on
67-20!2017.. His CT cf the neck and chest revealed thyroid mass cervical
lympha'denopathy and mediastinal lymph'aden'opathy. l-le underwent thyroid
surgery w_l'_rich revealed high-grade B`-ce|l lymphoma. He undenrveht tracheostomy
and rs currently recovering from his recent surgery and chemotherap.y. He' rs
expected to receive chemotherapy every 3 weeks Due to his recent neck surgery,
trechec'stomy and chemotherapy he rs unable to perform any work-related activities
at this time

lvlr; Varrecchio' s chemotherapy sessions are expected to continue through October
2017 H_e_ should be able to return to llg'l*lt-r:_lutyl work from home' in mid-November
with a return to Courtroom appearances on December 7. These revisions were
caused by reactions and fatiguin'g to ongoing chemotherapy infusions and are to
be expected in the course of this treatment

Thes'e work-return projections are subject to change dependent upon best-case
scenario progress and there may be further delays to his return depending orr many
variable factors

\17
lf'you have any questions or concerns please don't"hesitate to call.

S`i`nc'er,‘e|y,_

J_es_sica Ashfo_rd, RN_ lDr. _Siva'Yad|apati

 

 

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Prob|em List as of 811 712017
Chronic neck pain
Lumbar disc disease
Osteoarthritis of right knee
Bilateral shoulder pain

lefuse large B-cell lymphoma of lymph hodes of neck (HCC)

" _"'Ccmments ------

 

Diffuse large B-cel| lymphoma of lym\ nodes of neck (HCC)

Health care home, active care coordination
_Lymphoma of thyroid gland (HCC}
Airway obstruction

Basic information

 
   

Ra_ce ‘_____` ' ` `

   

':::* Ethnicity ii Lan`g`gage . 'f'f __ Language

'-'F`- Preferr_ed`-_Spoken";;_j; Preferred Wntten

 

_ _ " Sex ' _ _______
11/2511960 Ma|e White or Not Hispanic or English Eng|ish
Caucasian Latincla or Spenish
origin
N|ost recent update: 8/17/2017 9:38 AN| by
Vital SiggslN|easurements _ n _ 7 Lajuan Ferna__ndez-Coo_j};er
BP " """ " P_uise . Temp ` " --_Wt'_‘____ _"_'Spo`z.. BM-`l
138»'80 (BP Location Rrght arm 84 98. 3 °F (36. 8 °C) 129. 7 kg (286 96% 39.89
Patient Position; Sit_ting)_

 
 

Smolong Statu
Never Smoker

Al|ergies as of 8l1 712017
No Known Allergies

¥our Current Medications Are

 
 

f|uticasone 50 mcglactuation nasal spray `

Commonly known as: FLONASE
hydrocodone-homatropine 5-1.5 mng mL
syrup

Commonly known es: HYCODAN

ibuprofen 200 mg tablet

Commcn|y known as: ADvlL,MOTRlN
loratadine 10 mg tablet

Common|y known as: CLAR|T|N
predniSONE 50 mg tablet

Commonly known asi DELTASONE

_______(O_r:'=") __ - 'b) __ _________ __ _Kg/m§_

 

  

 

S|g_ _____;: _' _ __ l .
2 sprays by Each Nostnl roots daily

Take 5 mLs by mouth every 8 (eight) hours as needed (ccugh)
for up to 10 days.

Take by mouth every 6 (six) hours as needed for Pain.
Take 10 mg by mouth dai|y.

Take 1 tablet by mouth 2 (two} times daily for 5 days.

 

 

Medications Ordered this Visit

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Varrecchio __Dominic (N|R #_ _2__8_26

   

 

     

predniSONE (DELTASONE) 50 mg tablet
Sig: Take 1 tablet by mouth 2 (two) times daily for 5 days.
Start: 8/17/17
Quantity: 10 tablet Rei'i|is: 3

 

lmmunizations Administered on Date of Encounter - 8I171'2017

 

 

 

 

 

 

 

None
To-Do List __
' _Futu-re_ihppointnie'"ri't"s___§:"3`5:5' ' " Provlder "`5 " ': ' ' ' f =§`_"Department -- -. _.' Dept Phone " """`
8i17l2017 10:00 AM Brandy hi Knight, Rh| ONCS OUR LADY OF Ti-iE LAKE 225-215-1185
POD A REG|ONAL MED|CAL CENTER -
ONCOLOGY lNFUS|ON
CENTER
8i24i'2017 2:00 Pliil Michaei D Diieo, MD Head and Neck Center 225-765-1765
' f ¢Futur_e_ Orders "`:f; " ' ' ` ' ; _§-; -' -i ""-":` ' ' * 'f_.-"'Cijii'ti`bietéiBy ` éS
CBC and differential [LAB293 Custorn1 9/7/2017 9N12018
Comprehensive metaboiic panel [LAB17 Custom] 917/2017 9/7/2018

P|ease go to http:I/www.oioiphysicianqroup.coml to view your test results, get medical advice, or request an
appointment

Thank you for using MyChart.
** Test results will be automatically released to your MyChart account three (3) business day after they are finalized.

For clinical reasons, not all results are automatically released to iVlyChart. P|ease contact your physician if you have
any questions regarding your results

 

Vmecdaseizmon<ie(o®hdis?$_iis§?bek Document 129-12 Filed 03/08/19 Page 15 oral

PET CT S|<ul| Base to l\/lid-Thigh PS

Statos: Final result

Study Result

PET/CT SCAN
H|STORY: Lymphoma thyroid gland
- CO|V|PAR[SON: None

TECHN|QUE: The patient had fasted for at least 4 hours prior to injection. A net injected dose of 14.5
mCi of 18-Fiuor0de0xyg|ucose was administered intravenously into a right hand vein. Blood gluccse
level Was 110 mgldl. The patient was asked to void prior to scanning. Attenuation corrected imaging
was obtained from the skull vertex to the mid thighs. PETICT Fusion was performed using ii/iirada
N|edical XD3 software Automated exposure control was used for dose reduction.

FlNDlNGS: There is physiologic activity in the brain, liver, spleen, G| tract, kidneys and urinary bladder.
There is no cervical adenopathy or PET positive iymph nodes in the neck. There is FDG activity at the
tracheostomy cannula which is not unusuai. Thyroid gland is not visible and may be surgically absent_
Heart is mildly enlarged and there is large amount of epicardial and anterior mediastinal fat. Lungs are
free of active disease with no mass or nodularity. There is no pleural or pericardia| effusion. No PET
abnormality detected within the abdominal organs which appear normal on the noncontrasted CT study.
There is a 4 cm cyst in the lower pole of right kidney. Bowel is normal in caliber. There is nc ascites. No
bone lesion detected. There is diffuse increase in bone activity due to patient taking bone marrow
stimulant Neuiasta

l|V|PRESSiON:
No demonstrated PET abnormality.

Signed by
Signed
WALKER, DAVID W

Dater"l'ime
8109/2017 14:25

Phone Pager
225-765-8819

Exam information

Exam Exam
Sletus Begon Ended
Fina| [99] 8109/2()17 11:25 8109/2017 13:10
Reviewed by

Siva Yad|apati, lV|D

External _Resu_|t Report
External Result Report

PACS Images

819/2017 4243 PN|

Encounter

View Encounter

Show images for PET CT Skull Base to iVlid'Thigh PS

vmecchio, Dominic (MR # 282652) Prinied by siva Yadiapaii, MD [12350] ai 3/17/17 9... Page 1 0£3

 

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`Vanocc_hio',_Don-iinic_ (MR'# 282652) D()B: 1'1-12511960 `Enc,cunter Datc: 081'0,312017-

Letter by_Jes_s_ic_a i'=ts'.'h'icirdl RN on 8/2¢201_'_!

 

"' OUR LADY or THELAKE= mw'o_'_;;g§;._g.:
P_HYS IC_IAN GROW eaton 110_:1__9:__1;2:5_0;1:-3___;::
soo 2_25-"1"57-3;15`4~

August 2, 2017

Patient: Dominic Varrecchi_o_
Bate. of Birth: 1-'|`125119§69

To Whom' it May Gonc__ern:

Mr. Dominic Varrecchio_' is a 56-year~oid attorney who presented to .O_ur Lady of the
Lake Regional Medica| Center emergency room with neck swelling an_d dyspnea on
612012_017'.- His CT of the neck and chest revealed thyroid mass,. cervical
iym`phadenopathy and medi_astinal |ymphad'enopathy. He underwent thyroid
surgery which revealed high-grade B'-c_eli iyinphome. i-le_ underwent trecheoet_orny
and is curnently recovering from his recent surgery and chemotherapy l-le' 1s
expected to receive chemotherapy every 3 weeksl D'ue' to his recent neck surgery,
trac_hecstomy and chemotherapy he is unable to perform any work-related activities
at this time

`ililr Varreochio' s chemotherapy sessions are expected to continue through October
201-'.`1' i-'le should be able t_o_ return to courtroom appearances and public forums '
some weeks after conclusion of his Chemowerepy regimen anticipated to _end in
mid-to-_|at`e October 2017 He. can return to work from home .or light otiice duty
sometime after mid-September 2017 These work-return projections are subject to
change dependent upon_- best-case scenario progressl and there may be further
dciays to .his return depending on many venable factors

if you have-any questions or concems. please .don‘t.'hesitet'e to oaii.

Sinoereiy,

 

x ,, ' ` ‘: _ h » ; _ , _ "
_ ..__m/n_.%)ig W____a
Je`ssica-Ashford, RN 1 Dr; S`lva Yadlapat`i

 

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__ Appointment Review Pagc l of 2
LAB ES
Appt .
Date Time l_ength Provlder Department Center
LALK
LALK MED Oncology-
7119117 (wed) 2:00 PM15. oNcoLocY LAB°RAT°RY eaton Rouge
min LAB A'l' MED|CAL Area
ONCOLOGY
Copay: 0
|nsurance: UNlTED MED|CAL Effective dates: 1101115 -

RESOURCES UMR

PATIENT'S VARRECCH!O,DOMIN|C
NAME:

PROCEDU RE: Lab Appointment Request

 

LOCAT|ON

lNSTRUCTlONS:

LAB ES

Appt .

Date Time LengthProvider Department Center

LALK
LALK MED Oncoiogy-
7121117(Thu) 8:45 AM15. oNcoLoGY LAB°RAT°RY eaton Rouge
mm LAB AT MED|CAL Area

ONCOLOGY

Copay: 0

|nsurance: UN|TED MEDICAL Effective dates: 1101115 -

RESOURCES UMR

PATIENT'S 7 VARRECCH|O,DOM|N|C
NAME:

PROCEDURE: Lab Appointment Request

 

LOCATION

INSTRUCTIONS:

ESTABL|SHED PAT|ENT

Date Appt Length Provider Department Center

Time
7/27111(rhu1 9:15 AM

file:///C:/Program%ZOFiles%ZO(xSé)/Epic/vt? .2/en-US1HTl\/I]_,/blank.html 7/12/2017

 

Case 2:16-CV-00298-lLRL-DEK Document 129-12 Filed 03/08/19 Page 18 of 3%-_-- ~M

7 _Appointment Review Page 2 of 2
Appt .

Date Time LengthProvlder Department Center
15 Siva ¥adlapati, LPG MED|CAL Onco|ogy-
min MD ' ONCOLOGY Baton Rouge

Area
Copay: 40
lnsurance: UNlTED MED|CAL Ef‘fective dates: 1/01/15 -

RESOURCES UMR

PAT|ENT'S VARRECCH|O,DOM|N|C
NAME:

PROCEDURE: MD Appointment Request

 

LOCATION
|NSTRUCTIONS:
|NFUSION
Date $i'::; LengthProvider Department Center
LALK ONCS
Onco|ogy-
10:00 300 ONCOLOGY
7127117 (Thu) AM min ONCG POD C lNFUS|ON E:;:n Rouge
CENTER
Appt Additional . .
Time LengthReSOurce Type Assigned Provlder
1300 332 infusion Nurse
Copay: 0
|nsurance: UNlTED MED|CAL Effective dates: 1101/15 -

RESOURCES UMR

PAT|ENT'S VARRECCH|O,DOMIN|C
NAME:

PROCEDURE: |nfusion Appointment Request

LOCAT|ON
|NSTRUCTIONSZ

file:1'//C;/Program%ZOFile5%20(xSG/Epidv$.Z/on-US/HTML/blmlk.html 7112/20 1 7

Case 2:16-CV-00298-lLRL-DEK Document 129-12 Filed 03/08/19 Page 19 of 31

'vanecqhia;_ Dominic (_MR:# 2182652) DOB: 1`1`-/25`/`19`.60' '.Enc.oumer perez 0810112017

Letter by Jess_ica A's~hford,, RN on 8/2120147

‘ OUR LADY 013 THE LAKE 1111-aromatic _LL<::

- -- - -- 4 .‘ . "' assoc _-L
.PHYSICIANGROUP t…..ad_r§§i£.-;§§
7 n n Phone:225-757-03'4_3
Fax; 2_25-757-3_354'

   

August 2, 2017

Patient: Dominic Va_rrecchi_o_
Date. Of Bil`th§ 1'1'[25!1960

To th`m' it May G_o'nc_ern:

Mr. Dominic Varrecchi`o is a ES-year-old attorney Whol:presented to .O_ur Lady o`f the
Lake Regionai Medica| Gente_r:emergency room with neck-swelling and dyspnea on
612012017'.; His'.CT of the neck and chest revealed thyroid mass,r cervical
lymphadeno`pathy and m_edi_a'stinal`tymphadenopathy. He underwent thyroid
surgery which revealed high-grade B'-c_ell iy_mphom`a. l-_le_unde'rwent-tracheost_on'i_y
and is currently recovering"from his recent surgery._and chemotherapy He is
expected to receive-chemotherapy every 3 weeks D`ue to his recent`neck surgery,
-tracheostomy-and chemotherapy he is~ unable 'to perform any work-related activities
`at- this timet

'Mr. Va.rrecohio's chemotherapy sessions are expected..to continue throughO`ctol_o'er
2"`01'7‘. H_e should be able..t_dre_turn to courtroom appearances and public forums '
somewe.eks after conclusion of his Chemotherapyregimen-anticipated to_.end in
mid-to-l_ate~Octop`er 2017. He.'can__ return t'o work from home-or light office duty
.someti_me\atter mid-September 201 7."Thes_e workzretu'rn projection's'._-a`re subject to
change dependent upon':best¢case-scenario progressl and‘t`here may he further
delays`to. his return depending on -ma'ny"varia'ble factors

|f you have-any questions or concems. please don't_.'hesitate to lcall.

Sincereiy,

 

Je'ssica.nshrerd, RN fort si'va `Yadlapari'

 

Primed_-b_y-J-essi@_gashrord, RN at 3/:)_,11-7 1118 PM: Pag: 1 011

 

 

Case 2:16-cV-00298-|LRL-DEK Document 129-12 Filed 03/08/19 Page 20 ot 31

OIJR LADY 05 THE LAKE Medical Onco|ogy, LLC

4950 Essen Lane

PH_YS ICIAN GROW eaton nouge LA 70309-3739

Phone: 225-757-0343
Fax: 225-757-8354

 

Ju|y 12, 2017

Patient: Dominic Varrecchio
Date ot Birth: 11125:'1960
Date of Visit: 7112!2017

To Whom it |V|ay Concem:

Mr. Dominic Varrecchio is a 56-year-o|d attorney who presented to Our Lady of the
Lake Regional Medical Center emergency room with neck swelling and dyspnea on
6/20/20‘17. His CT of the neck and chest revealed thyroid mass, cervical
lymphadenopathy and mediastina| |yrnphadenopathy. l-le underwent thyroid surgery
which revealed high-grade B-ce|| |ymphoma. He underwent tracheostomy and
received 1 course of chemotherapy last Week. He is currently recovering from his
recent surgery and chemotherapy. He is expected to receive chemotherapy every 3
weeks Due to his recent neck surgery, tracheostomy and chemotherapy, he is
unable to perform any work-related activities at this time. Wlth chemotherapy we
expect that his lymphoma will improve and he may be able to return to work
tentatively on August 28, 2017.

|f you have any questions or concerns, please don't hesitate to cal|.

Sincerely

Q"\~> 6_`_; M‘
Siva Yad|apati, |VlD

Electronicai|y signed by Siva Yad|apati, N|D

Case 2:16-cV-00298-|LRL-DEK Document 129-12 Filed 03/08/19 Page 21 ot 31

RAY ]`. LOUSTEAU, M.D.
R. PATRICK CECOLA, M.D.
D:`p!ar):az‘e.r, Amefz'¢‘aiz Baard af O¢o!arjngalog}

Fe-Uow.r, Ar;zer:`rarz firedij of Otoiar)#ga/og_y/Head and Neck
Jurger)

May ‘11, 2017
Re: Dominic Varrecchio

To Whom it may concem:

M.r. Vaxreccbio was seen by me on March 1, 2017 and March 23, 2017 for upper respiratory
infection He also stated he has obstructed sleep apnea. A sinus CT scan was ordetod. Mr.
Varrecchio states his CPAP titl:at`lon is schedule With St. E]izabeth’s sometime in ]une.

Please ca11 my office if any additional information is needed

Sinceray,

/@;a

R. Patl:ick Cecola, M.D.-

re

120 NORTH JEFPERSON mavis PKWY v New oRLEANS, LA roiw_§sus
I=HoNo (504) 321-0244 - FAx (504) 821-0255

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Case L_‘LG?CV_- -0-0298 |LRL-DEK DOCument 129-12 Filed 03/08/19

takes

Page 22 ot 31

2929 Napo|eon Avenue
New Orleans. LA 701‘| 5
Phon'e: 504~897-800{}

Fax‘. 504-597-8589'
www-.touro.comflmaging

|-MAG|NG CENTER P'HYS|C!AN'S ORDER FORN|

 

 

PATIENT NAME _ \'..` `

fg-,. \/AERL_QQ\\Q

 

DIAGNOS|S CODE (|CD-Q`) (REQUIRED]

 

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Form'# 0139, lMG, 021'09

 

Rov. 07/09, 11/09, 02/10

 

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Case 2:16-cV-OO298-|LRL-DEK Document 129-12 Filed 03/08/19 Page 23 ot 31

Phone (504) 321~0244 , Fax: (504) 321-0255

HAY J. LOUSTEAU, M.D., R. PATR¥CK CECOLA, M.D.

& BRtDGET A. BOUDREAuX, M.D.
A MeoicAL companion

Ear, Nose and Throat

Head and Neck Surgery
120 N. Jefterson Davis Parl<way
NEW OBLEANS. LA 70119

S/¢r

Dare
UL¢“_,. _.E;l Mr_..,., (d~srdfv\

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To

Patient ’s_ Name

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Case 2:16-cV-OO298-|LRL-DEK Document 129-12 Filed 03/08/19 P_age 24 ot 31

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MyCha&a§epzdr&ing-AQQSMMSDEK Document129-12 Filed 03/03/19 Page 2501>3§@101"2

Name: Dominic Varrecchio | DOB:11/25/1960 l |V|RN: 282652 | PCP: |V|ichae| Goodier, MD

Upcomirlg zippointments

Date / Time

Description

Department

 

Thursdav September 07, 2017
8:30 AM CDT

Heme/Onc Lab Appt With
LALK MED ONCOLOGY LAB

OUR LADY OF THE
LAKE REG|ONAL
MED|CAL CENTER -
LABORATORY

4950 ESSEN LN, STE
300

BATON ROUGE LA
70809

 

Thursda\/ September 07, 2017
9:00 A|Vl CDT

Estab|ished Patient with
Siva Yad|apati, |V|D

Medical Onco|ogy, LLC
4950 Essen Lane
BATON ROUGE LA
70809-3739

 

Thursday September 07, 2017
10:00 AIV| CDT

|nfusion with
ONC6 POD K

OUR LADY OF THE
LAKE REG|ONAL
MED|CAL CENTER -
ONCOLOGY |NFUS|ON
CENTER

4950 ESSEN LANE
BATON ROUGE LA
70808

 

Wednesday September 13,
2017 12200 PM CDT

Estab|ished Patient with
Michae| D Dileo, IV|D

Heac| and Neck Center
4950 Essen Lane

Suite A

BATON ROUGE LA
70809-3738

 

Thursday September 28, 2017
8:30 A|VI CDT

Lab Es With
LALK MED ONCOLOGY LAB

OUR LADY OF THE
LAKE REG|ONAL
MEDICAL CENTER -
LABORATORY

4950 ESSEN LN, STE
300

BATON ROUGE LA
70809

 

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8/25/20]7

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Date / Time

 

Document 129-12 Filed 03/08/19 Page 26 OPBQe 2 of2

Description

Department

 

Thursday September 28, 2017
9:00 AIV| CDT

FOL|_OW UP AND TREAT With
Siva Yad|apati, IV|D

Medical Onco|ogy, LLC
4950 Essen Lane
BATON ROUGE LA
70809-3739

 

Thursday September 28, 2017
10200 A|Vl CDT

infusion with
ONC6 POD K

OUR LADY OF THE
LAKE REG|ONAL
MED|CAL CENTER -
ONCOLOGY |NFUS|ON
CENTER

4950 ESSEN LANE
BATON ROUGE LA
70808

 

\§;-;'
Thursday October 19, 2017 8:30

AM CDT

Lab Es with
LALK MED ONCOLOGY LAB

OUR LADY OF THE
LAKE REG|ONAL
MED|CAL CENTER -
LABORATORY

4950 ESSEN LN, STE
300

BATON ROUGE LA
70809

 

Thursday October 19, 2017 9:00

A|Vl CDT

FOLLOW UP AND TREAT With
Siva Yadlapati, MD

Medical Onco|ogy, LLC
4950 Essen Lane
BATON ROUGE LA
70809-3739

 

Thursday October 19, 2017
10:00 AlVl CDT

infusion with
ONCS POD K

OUR LADY OF THE
LAKE REG|ONAL
MED|CAL CENTER -
ONCOLOGY |NFUS|ON
CENTER

4950 ESSEN LANE
BATON ROUGE LA
70808

 

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8/25/2017

MyChN&ShliZOXG-CV-OOZQS-|LRL-DEK Document 129-12 Filed 03/08/19 Page 27 OiPBg€ 1 Of2

Print This Page 1 C|ose This Window
Name: Dominic Varr_ecchio j DOB:11/25/1960 l MRN: 282652 | PCP.' lV|ichae| Goodier, MD

Appointmeht Scheduled

 

 

To: Dominic Va rrecchio
From: Mychart U
Received: 8/25/2017 9:22 ANI CDT

 

Appointment Information:
visit Type: EsTABLlSHED PAT|ENT
Date: 9/13/2017
Dept: Head and Neck Center
Provider: l\/|ichael D Diieo
Time: 12:00 PIVI

Appt Status: Schedu|ed

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Print This Page l Close This Window
Name: Dominic Varrecchio l DOB:11/25/1960 l lVlRN: 282652 | PCP: |Vlichae| Goodier, lVlD

Appointmeent Scheduled

 

 

To: Dominic Varrecchio
From: lVlychart U
Received: 8/18/'2017 1:45 PlVl CDT

 

Appointment |nformation:
Visit Type: Heme/Onc Lab Appt
Date: 9/7/2017
Dept: OUR LADY OF THE LAKE REGlONAL MED|CAL CENTER - LABORATORY
Provider: LALK lV|ED ONCOLOGY LAB
Time:12:30 PlVl

Appt Status: Scheduled

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W
Name: Dominic Varrecchio | DOB: 11/25/1960 | MRN: 282652 l PCP: ivlichaei Goodier, |VlD

Appointment Scheduled

 

 

To: Dominic Varrecchio
From: I\/iychart U
Receiveci: 8/18/2017 1:52 PiVi CDT

 

Appointment |nformation:
Visit T\/pe: infusion
Date: 9/7/2017
Dept: OUR LADY OF THE LAKE REGIONAL MED|CAL CENTER - ONCOLOGY
lNFUSiON CENTER
Provlder: ONC6 POD K
Time: 10:00 AlVl W

Appt Status: Scheduled

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Print This Page | Ciose This Window
Name: Dominic Varrecchio | DOB:11/25/1960 | MRN: 282652 l PCP: |Vlichae| Goodier, MD

Appointment Scheduled

 

To: Dominic Varrecchio
From: lVl\/ch§,rt U
Received: 8/18/2017 1:45 PiVl CDT

 

Appointment |nformation:
Visit Type: ESTABL|SHED PATlENT
Date: 9/7/2017
Dept: Medical Onco|ogy, Li_C
Provider: Siva Yadlapati
Time: 1:00 PlVi

Appt Status: Schedu|ed

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Case 2:16-Cv-OO298-|LRL-DEK Document 129-12 Filed 03/08/19 Page 31 of 31

l CUR LADY OF THE LAK_E Medical oncolngy, LLc

4950 Essen Lane
PHYSICLAN G-RoUP B‘°““::§:esz;‘i$§?£;i§

Fax: 225-757-8354

Juiy12,2017

Patient: Dominic Varrecchio
Date of Birth: 11125!1960
Date of Visit: 7112!2017

To Whom it May Concem:

Mr. Dominic Varrecchio is a 56-year-oid attorney who presented to Our Lady of the
Lake Regionai Medical Center emergency room with neck swelling and dyspnea on
6/20/2017. His CT of the neck and chest revealed thyroid mass, cervical
iymphadenopathy and mediastinai lymphadenopathy. He underwent thyroid surgery
which revealed high-grade B-ceil |ymphoma. He underwent tracheostomy and
received 1 course of chemotherapy last week. He is currently recovering from his
recent surgery and chemotherapy. He is expected to receive chemotherapy every 3
weeks Due to his recent neck surgery, tracheostomy and chemotherapy, he is
unable to perform any work-related activities at this time. With chemotherapy we
expect that his lymphoma will improve and he may be able to return to work
tentatively on August.28, 2017.

if you have any questions or concems, ptease don’t hesitate to cal|.
Sincerely

Q~.> 612 arrow

Siva Yadiapati, MD

Electronicaiiy signed by Siva Yadiapati. MD

